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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                             )
                                                      )
                Plaintiff,                            )
                                                      )
       vs.                                            )       CRIMINAL No. 18-4176 JB
                                                      )
STERLING ISLANDS, et al.,                             )
                                                      )
                Defendants.                           )


   UNITED STATES’ MOTION FOR TWO-WEEK TIME EXTENSION TO FILE
RESPONSE TO DEFENDANT’S JOINT MOTION TO COMPEL DISCOVERY (Doc. 49)

       The United States respectfully requests a two-week extension of time within which to file

its response to Defendant’s Joint Motion to Compel Discovery. See Doc. 49. The United States

has been diligently working through the Defendants’ 13-page letter demanding specific

discovery, and upon which Defendants’ motion is based. The United States plans to disclose a

portion of the items Defendants requested, and then file a motion outlining which items (1) have

already been disclosed, (2) will be disclosed, (3) do not exist, and (4) are not subject to

disclosure. The United States needs an additional two weeks to accomplish that task. None of the

Defendants oppose this relief. Accordingly, the United States requests the Court extend the

United States’ response deadline to the joint motion to compel discovery for two-weeks, until

May 17, 2019.


                                                      Respectfully submitted,


                                                      JOHN C. ANDERSON

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                                                   United States Attorney


                                                   /s/
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 3rd day of May, 2019, I filed the foregoing pleading
electronically through the CM/ECF system, which is designed to cause counsel of record for the
defendant to be served by electronic means.


                                                     /s/
                                                   KRISTOPHER N. HOUGHTON
                                                   Assistant U.S. Attorney




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